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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
ANTHONY DAUNT,

       Plaintiff,
v                                            No. 1:20-cv-00522

JOCELYN BENSON, in her official capacity as HON. ROBERT J. JONKER
Michigan Secretary of State, JONATHAN
BRATER, in his official capacity as Director of
the Michigan Bureau of Elections,                DEFENDANTS SECRETARY OF
                                                STATE JOCELYN BENSON AND
      Defendants,                                 DIRECTOR OF ELECTIONS
                                                JONATHAN BRATER’S MOTION
A. PHILIP RANDOLPH INSTITUTE –                     TO DISMISS PLAINTIFF’S
DETROIT/DOWNRIVER; RISE, INC.,                   AMENDED  COMPLAINT (DOC.
                                                            31)
       Intervenor-Defendants,

LEAGUE OF WOMEN VOTERS OF
MICHIGAN; LEAGUE OF WOMEN VOTERS
OF GRAND TRAVERSE AREA; LEAGUE OF
WOMEN VOTERS OF ANN ARBOR AREA;
LEAGUE OF WOMEN VOTERS OF
LEELANAU COUNTY; LEAGUE OF
WOMEN VOTERS OF COPPER COUNTY and
LEAGUE OF WOMEN VOTERS OF
OAKLAND AREA,

       Intervenor-Defendants.

William S. Consovoy                          Elizabeth Husa Briggs (P73907)
Cameron T. Norris                            Heather S. Meingast (P55439)
Tiffany H. Bates                             Erik A. Grill (P64713)
Attorneys for Plaintiff                      Attorneys for Defendants Benson &
1600 Wilson Blvd, Suite 700                  Brater
Arlington, VA 22209                          PO Box 30736
                                             Lansing, Michigan 48909
Jason Torchinsky                             517.335.7659
Attorney for Plaintiff
45 North Hill Drive, Ste 100
Warrenton, VA 20186
540.341.8800
                                         /



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  DEFENDANTS SECRETARY OF STATE JOCELYN BENSON AND DIRECTOR OF
    ELECTIONS JONATHAN BRATER’S MOTION TO DISMISS PLAINTIFF’S
                  AMENDED COMPLAINT (DOC. 31)

       Defendants Secretary of State Jocelyn Benson and Director of Elections Jonathan Brater,

by counsel, move this Court to dismiss Plaintiff’s amended complaint under Fed. R. Civ. P.

12(b)(1) and Fed. R. Civ. P. 12(b)(6), for the reasons identified below and explained in detail in

their supporting brief.

       Dismissal is warranted under Rule 12(b)(6) because the factual allegations in the

complaint, even if true, are insufficient to allege a claim of vote dilution. Perhaps even more

importantly, dismissal is necessary under Rule 12(b)(1) because the factual allegations in the

complaint, even if true, do not demonstrate standing with respect to the claims asserted.

Standing is a threshold issue, indispensable to availing oneself of a court’s jurisdiction. Having

failed to provide sufficient factual allegations supporting this, Plaintiff’s complaint, even as

amended, must be dismissed.

       Accordingly, for the reasons explained above and in their supporting brief, Defendants

Secretary Benson and Director Brater respectfully request this Court dismiss Plaintiff’s amended

complaint in its entirety and grant such other relief as it deems just and proper.

                                               Respectfully submitted,

                                               DANA NESSEL
                                               Attorney General

                                               s/Elizabeth R. Husa Briggs
                                               Elizabeth R. Husa Briggs (P73907)
                                               Heather S. Meingast (P55439)
                                               Erik A. Grill (P64713)
                                               Assistant Attorneys General
                                               Attorneys for Defendant
                                               P.O. Box 30736
                                               Lansing, Michigan 48909
                                               517.335.7659
                                               Email: briggse1@michigan.gov
Dated: October 14, 2020                        (P73907)
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                                 CERTIFICATE OF SERVICE

I hereby certify that on October 14, 2020, I electronically filed the foregoing paper with the
Clerk of the Court using the ECF system which will send notification of such filing of the
foregoing document as well as via US Mail to all non-ECF participants.

                                              s/Elizabeth Husa Briggs
                                              Elizabeth R. Husa Briggs (P73907)
                                              P.O. Box 30736
                                              Lansing, Michigan 48909
                                              517.335.7659
                                              Email: briggse1@michigan.gov
                                              P73907




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